Case 2:19-cv-13532-SFC-APP ECF No. 17, PageID.65 Filed 12/01/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                               FOR THE
                    EASTERN DISTRICT OF MICHIGAN

  RENEE MERCKX,                            )
                                           )
               Plaintiff                   )
                                           ) Case No.: 2:19-cv-13532-SFC-APP
        v.                                 )
                                           )
  CAPITAL ONE (USA), N.A.,                 )
                                           )
                Defendant                  )
                                           )

       STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii), the parties to this action, through

  counsel, hereby stipulate to the dismissal with prejudice and with each party

  to bear its own costs and fees.

        IT IS ORDERED that Plaintiff’s complaint is dismissed with

  prejudice and with each parties to bear its own costs or attorneys’ fees.

  Dated: December 1, 2020                s/Sean F. Cox
                                         Sean F. Cox
                                         U. S. District Judge
Case 2:19-cv-13532-SFC-APP ECF No. 17, PageID.66 Filed 12/01/20 Page 2 of 2




  Stipulated as to form and content:


  /s/ Jennifer K. Green                  /s/ Amy L. Bennecoff Ginsburg

  Jennifer K. Green                     Amy L. Bennecoff Ginsburg, Esq.
  Clark Hill PLC                        Kimmel & Silverman, P.C.
  151 S. Old Woodward Ave.,             30 East Butler Pike
  Suite 200                             Ambler, PA 19002
  Birmingham, MI 48009                  Phone: 215-540-8888
  (248) 988-2315                        Fax: 877-788-2864
  jgreen@clarkhill,com                  Email: aginsburg@creditlaw.com
  Attorney for the Defendant            Attorney for Plaintiff

  Date: December 1, 2020                Date: December 1, 2020




                                        /s/ Amy L. Bennecoff Ginsburg
                                     Amy L. Bennecoff Ginsburg, Esq.
                                        Kimmel & Silverman, P.C.
                                        30 East Butler Pike
                                        Ambler, PA 19002
                                        Phone: 215-540-8888
                                        Fax: 877-788-2864
                                        Email: aginsburg@creditlaw.com
                                  Attorney for the Plaintiff
